                      Case 2:18-cv-00442-WKW-WC Document 1 Filed 04/30/18 Page 1 of 6




                                      IN THE UNITED STATE  ifliE" CZNAti 100
                                                                 ___ _ _ __URT FOR
                                          THE MIDDE-pRISTRICT OF ALABAMA
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                 Fun name and prison name of                  )-_11,c-- COURT'
                                                          , 'n)-
                 Plaintiff(s)                                                 : A

                 v.                                     ))           CIVIL ACTION NO.    ( 6 ) b"C-A-1-(-)      Li-a--tAIK   WC
                                                        )            (To be supplied by Clerk ofU.S. District
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                                                        )
                  Name ofperson(s) whb violated your    )
                  constitutional rights.(List the names )
                  of all the person.)                   )


                 I.      PREVIOUS LAWSUITS
                         A.   Have you begun other lawsuits in state or federal court dealing with the same or
                              similar facts involved in this action? YES IN No ❑

                         B.     Have you begun other lawsuits in state or federal court relating to your
                                imprisonment?    YES!:         NOE

                         C.     If your answer to A or B is yes, describe each lawsuit in the space below. (If there
                                is more than one lawsuit, describe the additional Iawsuits on another piece ofpaper,
                                using the same outline.)

                                1.     Parties to this previous lawsuit:

                                       Plaintiff(s)       ttSCiiir‘cALS t.11-Ack useY   Pro'.5e.




                                       Defendant(s) 7c,se.PH 1-I            NLE,..)1 e vv fiRbEis!   E.T. AL.
                                           7 ;e_i_vi.e.m AWL   W   thiE.r Po
                                2.     Court(iffederal court, name the district; if state court, name the county)
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                                        PI7-6NY                       oF ALAkiteut Nociherti Nvi•sintl
           Case 2:18-cv-00442-WKW-WC Document 1 Filed 04/30/18 Page 2 of 6




                   3.     Docket number iiy.LLAC--1-        ION    KC)    2... -CN -2.1 - titiT
                   4.     Name ofjudge to whom case was assigned         1-16 Nor        -Suckle_
                                     MYRot4 H Tile-,e4P5esti
                   5.     Disposition(for example: was the case dismissed? Was it appealed? Is it still
                          pending ?) 5,LefiL NIA;big

                   6.     Approximate date offiling lawsuit      1/11/11
                   7.     Approximate date of disposition      2/1 /
              PLACE OF PRESENT CONFINEMENT n me STot.g:                      rscrer+i•ni

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              PLACE OR INSTITUTION WHERE INCIDENT OCCURRED                    ELtIorkF Lnfre.c.iirmAL
FAcili.-W 3520    frifIrints1 SPiilvvfoi Road          ELMoRE ALAInfirlik 3602.5
      III.    NAME AND ADDRESS OF 1NDIVIDUAL(S) YOU ALLEGE VIOLATED YOUR
              CONSTITUTIONAL RIGHTS.

                   NAME                                         ADDRESS

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     5. Cori2om He.A1+11                     51- tcroti     CorrectinrisPiL          ahia
     6.

     IV.      THE DATE UPON WHICH SAID WOLATION OCCURRED                       "V30/16
                  Auriti5T 30/ 2016
     V.       STATE BRIEFLY THE GROUNDS ON WHICH.YOU BASE YOUR ALLEGATION
              THAT YOUR CONSTITUTIONAL RIGHTS ARE BEING VIOLATED:

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                   Case 2:18-cv-00442-WKW-WC Document 1 Filed 04/30/18 Page 3 of 6




                 STATE BRMFLY THE FACTS WHICH SUPPORT THIS GROUND. (State as best you can the
                 time, place and manner and person involved.)
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              VI.    STATE .BRIEFLY EXACTLY WHAT YOU WANT THE COURT TO DO.FOR YOU.
                     MAKE NO LEGAL ARGUMENT. CITE NO CASES OR.STATUTES.

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                     I declare under penalty ofperjury that the foregoing is true and correct.

                     Executed on      4 -25- i
                                         (Date)
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